Case 23-19865-JKS        Doc 228      Filed 11/21/23 Entered 11/21/23 16:47:23        Desc Main
                                     Document      Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Unit LP

 In Re:                                                      Chapter 11

 WEWORK INC., et al.,                                        Case No.: 23-19865 (JKS)

                          Debtors.                           Judge: John K. Sherwood

                                                             Hearing Date: 11/28/23, 10:00 AM

               JOINDER OF 490 LOWER UNIT LP A/K/A 490 LOWER LEVEL UNIT LP,
                       TO OBJECTION OF KATO INTERNATIONAL LLC

          490 Lower Unit LP a/k/a 490 Lower Level Unit LP (“490 Lower”), as and for its Joinder

(the “Joinder”) to the Objection Of Kato International LLC To Debtors’ Motion For Entry Of An

Order (I) Authorizing And Approving Procedures To Reject Or Assume Executory Contracts And

Unexpired Leases, And (II) Granting Related Relief (ECF no. 224; the “Objection”), by and

through its undersigned counsel, respectfully states as follows:

          1.      In or about August 2019, 490 Lower entered into a Lease Agreement with 245

Livingston St. Q LLC, one of the Debtors (the “Lease”). As of the date of this Joinder, the Lease

has not been assumed or rejected.
Case 23-19865-JKS          Doc 228     Filed 11/21/23 Entered 11/21/23 16:47:23           Desc Main
                                      Document      Page 2 of 2



         2.       490 Lower agrees with the legal and factual arguments set forth in the Objection

and hereby joins in, adopts, and incorporates the reasoning set forth therein as though fully set

forth herein.

         3.       490 Lower continues to reserve all of its rights.

         4.       490 Lower expressly reserves all of its rights under the Lease, all relevant

agreements and related documents, the law, at equity, and in all other respects, including, without

limitation, its right to supplement this Joinder and to move for additional and further relief.


Dated: Hackensack, New Jersey
       November 21, 2023

                                                RIVKIN RADLER LLP
                                                Attorneys for 490 Lower Unit LP a/k/a 490 Lower
                                                Level Unit LP

                                         By:    /s/ Ana Parikh
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4874-5103-9378, v. 1




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